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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:03CR290
                              )
          v.                  )
                              )
STERLING J. McKOY,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           IT IS ORDERED that plaintiff shall have until March 20,
2012, to file a reply to defendant’s brief in support of his

motion to reduce sentence.

           DATED this 7th day of March, 2012.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
